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                         United States District Court
                            SOUTHERN DISTRICT OF CALIFORNIA


Petitioner
Tatiana Korolshteyn, on behalf of herself and all          Civil Action No. 15-cv-0709-CAB-RBB
others similarly situated
                                                    V.
Defendant
NBTY, Inc.
                                                    V.       JUDGMENT IN A CIVIL CASE
Respondent
Costco Wholesale Corporation

Amicus
The Council for Responsible Nutrition


IT IS HEREBY ORDERED AND ADJUDGED:
CRN’s motion to file a brief amicus curiae is Granted; Plaintiff’s motions to exclude the testimony of
Susan Mitmesser and Edward Rosick are denied; Plaintiff’s motion to exclude the testimony of
Stephen Ogenstad is Denied As Moot; Defendants’ motion to exclude the testimony of Richard Bazinet
and Martin Lee is Denied As Moot; Defendants’ request for judicial notice and Plaintiff’s motion to
strike are Denied As Moot; and, Defendants’ motion for summary judgment is Granted. Accordingly,
the Clerk of Court is instructed to enter Judgment for Defendants and to Close this case. It is So
Ordered.




Date:          8/23/17                                        CLERK OF COURT
                                                              JOHN MORRILL, Clerk of Court
                                                              By: s/ J. Gutierrez
                                                                                  J. Gutierrez, Deputy
